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 6             IN THE UNITED STATES DISTRICT COURT FOR THE

 7                     EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,

10                  Plaintiff,
                                            CR. NO. S-08-0420 EJG
11             v.
                                            ORDER GRANTING EXTENSION OF
12   IVAN QUINTERO JIMENEZ,                 TIME

13                  Defendant.
     _____________________________/
14

15        The government’s motion for an extension of time in which to

16   respond to defendant’s motion for return of property is GRANTED.

17   The response shall be filed and served no later than November 7,

18   2012. Defendant’s reply, if any, shall be filed and served no

19   later than December 7, 2012.

20        IT IS SO ORDERED.

21   Dated: October 23, 2012

22                                    /s/ Edward J. Garcia
                                      EDWARD J. GARCIA, JUDGE
23                                    UNITED STATES DISTRICT COURT

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